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                      EXHIBIT 10
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              settlement proceeds to go to opioid abatement
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              Purdue Pharma settlement proceeds to
              go to opioid abatement programs,
              states say
              By Maria Chutchian                                                    IMINREAD               f       *




              States that previously declined to settle claims that Purdue Pharma
              LP helped fuel the national opioid crisis through deceptive
              marketing of its drugs have agreed to spend any funds they receive
              through the drugmaker's bankruptcy exclusively on programs
              designed to slow the crisis.

              The agreement was announced Wednesday in a status report from
              mediators in Purdue's Chapter 11 case, which is pending before the
              U.S. Bankruptcy Court for the Southern District of New York. The
              OxyContin maker, represented by Davis Polk & Wardwell, has
              proposed a settlement it says is worth $10 billion to resolve
Purdue PharmaCase:
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              thousands of lawsuits brought by state and local governments,
              among others, which led to the company's bankruptcy in September
              2019.

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